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CERTIFICATE OF SERVICE
I, Amanda M. Winfree, hereby certify that on May 11, 2011, I caused one copy of the

foregoing document to be served upon the parties on the attached service list via electronic mail.

JM wink Ze

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